                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE: Jamie L. Daugherty                                               CHAPTER 13
                                  Debtor

M&T Bank
                                  Movant
                vs.                                                  NO. 19-04047 HWV

Jamie L. Daugherty
                                  Debtor

Charles J. DeHart, III, Esquire                                     11 U.S.C. Section 362
                                  Trustee

                                              ORDER


        Upon consideration of the foregoing stipulation, it is hereby ORDERED that the Stipulation

is approved by the Court. However, this court retains discretion regarding entry of any further order.


        Dated: April 28, 2020                 By the Court,



                                               Henry W. Van Eck, Chief Bankruptcy Judge        (JH)




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